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                                   STATEMENT OF FACTS

        Your affiant, Neil Larson Jr., is a Task Force Officer with the Federal Bureau of
Investigation Philadelphia Field Office, Joint Terrorism Task Force. As a Task Force Officer, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of violations of Federal criminal laws. Currently, I am tasked with
investigating criminal activity in and around the U.S. Capitol grounds on January 6, 2021.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On January 10, 2021, the FBI received a tip from Tipster 1 regarding EDWARD (EDDY)
McALANIS (hereinafter McALANIS) being on Capitol grounds and inside the Capitol on
January 6, 2021. Tipster 1 and McALANIS share mutual friends. Tipster 1 provided two photos
that McALANIS sent to one or more of their mutual friends on Wednesday, January 6, 2021.
One of the photos is of McALANIS outside the U.S. Capitol Building (depicted below on the
left) and the other shows him posing with the Abraham Lincoln statue in the Statuary Hall of the
U.S. Capitol Building (depicted below on the right).Photos 1 and 2.




       On May 20, 2021, open source research identified a telephone number ending in
-5407 associated with McALANIS. 1 According to records obtained through a search warrant
served on AT&T, on January 6, 2021, in and around the time of the incident, the cellphone
associated with the telephone number ending in -5407 was identified as having utilized a cell site
consistent with providing service to a geographic area that included the interior of the United States
Capitol building.

       Records from AT&T confirm that the number ending in -5407 is subscribed by
McALANIS and that he resides at an address in Stevens, Pennsylvania. Information obtained from
the Pennsylvania Department of Transportation corroborated that this address was associated with
McALANIS.

        Records obtained from Facebook Inc. also confirm that the number ending in -5407 is the
verified phone number for a Facebook account registered to McALANIS.


1
 The full phone number is known to law enforcement; however, only the last four digits are included within this
public filing.

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       On July 6, 2021, at approximately 8:56 a.m. EDT, the FBI received a tip from Tipster 2
regarding EDWARD McALANIS and his reported involvement in civil unrest in Washington,
D.C. Tipster 2 provided McALANIS’ date of birth and address in Stevens, Pennsylvania. Tipster
2 advised that they are a family friend of McALANIS and his wife. Tipster 2 added that
McALANIS provided information to family and friends that he broke into the U.S. Capitol
Building on January 6, 2021. McALANIS also shared photos of himself being inside on the
second floor of the Capitol on that date.

        A review of images captured by Capitol Police CCTV on January 6, 2021 (Photos 3, 4
and 5) show a man who appears consistent with the appearance of McALANIS in the images
from Tipster 1. This video footage includes footage in the area of the Rotunda inside the Capitol
at approximately 3:00 p.m. EST. Moreover, the man captured in the below CCTV footage has
the same blue sweatshirt with black outer vest, carrying a black and red backpack, consistent
with the images submitted by Tipster 1.




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Photos 3, 4 and 5.




        Based on the foregoing, your affiant submits that there is probable cause to believe that
EDWARD McALANIS violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government

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business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes
or disrupts the orderly ]conduct of Government business or official functions; or attempts or
conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be
temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.

        Your affiant further submits there is also probable cause to believe that EDWARD
McALANIS violated 40 U.S.C. § 5104(e)(2), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                     _________________________________
                                                     Neil Larson Jr.
                                                    Task Force Officer CT-4
                                                    FBI - Philadelphia JTTF


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 14th day of July 2021.


                                                     ______________________________
                                                     ROBIN M. MERIWEATHER
                                                     U.S. MAGISTRATE JUDGE




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